Case 1:25-cv-00339-JDB   Document 80-21   Filed 04/18/25   Page 1 of 5




            EXHIBIT 19
       Case 1:25-cv-00339-JDB          Document 80-21         Filed 04/18/25      Page 2 of 5




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



AFL-CIO, et al.,

Plaintiffs,

v.                                                      Case No. 1:25-cv-00339

DEPARTMENT OF LABOR, et al.,

Defendants.




                   DECLARATION OF NATASHA DANIELLE DUCKETT


I, Natasha Danielle Duckett, declare as follows:


     1. I am a part-time lecturer in the sociology department at California State University

        (“CSU”), Sacramento and a member of the California Faculty Association, SEIU Local

        1983. I have been in this position and a member of the union for 11 years. I submit this

        declaration in support of Plaintiffs’ motion for a preliminary injunction in this matter.

        The statements made in this declaration are based on my personal knowledge.


     2. As a part-time lecturer, my position is contingent on budget and student enrollment. This

        means that I am unemployed between semesters including most summers. Every six or

        seven summers, I have the opportunity to teach a course. Most summers, when I do not

        have the opportunity to teach a course, I file for unemployment insurance with the

        California Employment Development Department (“EDD”). I have filed for

        unemployment insurance the past two summers.
  Case 1:25-cv-00339-JDB         Document 80-21         Filed 04/18/25      Page 3 of 5




3. The sociology department at CSU Sacramento has 22 tenure-line faculty members and 15

   part-time lecturers. I believe that 13 of the 15 lecturers also have a gap in the summer and

   anyone who relies solely on teaching for their income would be eligible for

   unemployment insurance over the summer.


4. Eighty-three percent of the lecturers on campus are part-time. There are hundreds of us in

   total.


5. Every summer that I am not teaching, including the past two summers, I file an

   application for unemployment insurance as soon as my spring contract ends. There is a

   processing gap of two to three weeks before I can begin collecting my benefits which

   means for each eleven-week summer break I can usually collect eight or nine weeks of

   benefits.


6. The online application is lengthy and takes about forty-five minutes to complete. As part

   of the application, I have to provide a significant amount of personally identifiable

   information including my full legal name, home address, phone number, email address,

   social security number, employer ID number, hours worked per week, a breakdown of

   my wages in the preceding eight quarters, and the name and contact information for my

   immediate supervisor.


7. Throughout the summer I also have to either submit online or keep track of my weekly

   efforts to find employment.


8. My unemployment insurance benefits are paid to an EDD debit card which I have set up

   to transfer into my checking account. I pay both state and federal taxes on my
  Case 1:25-cv-00339-JDB          Document 80-21         Filed 04/18/25      Page 4 of 5




   unemployment insurance payments so I know the federal government has at least some of

   the information I submit as well.


9. In the past, I was never enthusiastic about having to submit all of this personally

   identifiable information but I understood that it was necessary for the state to provide my

   benefits and for the proper taxes to be withheld. I also knew that this information would

   only be accessible to EDD and the federal government.


10. When DOGE was announced I became concerned because Elon Musk and the people

   working for him were complete government outsiders. They were not elected and, from

   what I understood, were not government employees. As I heard and learned of DOGE

   accessing agencies’ data systems, I found what was happening to be deeply troubling.

   These individuals had no business having access to our information.


11. By late January, I had contacted my parents and asked them to save and print out their

   social security records. I also saved and printed out both my student loan records and my

   social security payment records. I have also looked into putting locks onto my credit so

   that I will get a notification if anyone pulls anything on my credit. I plan on doing this for

   myself and for my young children in the next few weeks.


12. In the past, I received a notification from the hospital that my children’s data was

   involved in a data breach. Now, all of our data is essentially involved in a data breach.


13. I am very concerned that my personal data is now unsecured and I don’t know how it can

   get re-secured. I am concerned about identity theft. I am concerned that my data is now

   on personal servers and could be copied over and shared anywhere. I am concerned that
Case 1:25-cv-00339-JDB   Document 80-21   Filed 04/18/25   Page 5 of 5
